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                                                                                          12/29/2020




                                      THE CITY OF NEW YORK
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                                                                                         (not for service)


                                                              December 29, 2020

BY ECF
Honorable Katharine H. Parker
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                 Re: J.L., et al. v. NYC Dep’t of Education, et ano,
                     No. 17-CV-7150 (WHP) (KHP)

Your Honor:
              I am the Assistant Corporation Counsel in the Office of the Corporation Counsel
of the City of New York assigned to represent Defendants New York City Department of
Education (“DOE”) and Chancellor Richard A. Carranza in the above-referenced matter.

               I write to respectfully request a brief adjournment of the settlement conference
currently scheduled for January 5, 2020 at 2:30 p.m., until the week of either January 18, 2020 or
January 25, 2020. Counsel for Plaintiffs, Rebecca Shore, Esq., consents to this request, and this
is Defendants’ first request for an adjournment of the settlement conference.

               The reason for the requested adjournment is to afford the principal stakeholders at
the DOE and the Office of School Health (“OSH”) the opportunity to deliberate on Plaintiffs’
proposed revisions to the DOE’s Standard Operating Procedure Manual (“SOPM”), which will
make the settlement discussions more fruitful. Defendants received Plaintiffs’ proposal today
and, due to the holiday schedule, many of the relevant DOE and OSH stakeholders are not
working this week and will be unable to review Plaintiffs’ proposed SOPM revisions prior to the
settlement conference.

              Defendants also respectfully request that the Court grant a corresponding
adjournment of the deadline for Defendants to submit their settlement submissions.
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                  I thank the Court for its consideration of this request.


                                                                 Respectfully submitted,


                                                                         s/
                                                                 Philip S. Frank
                                                                 Assistant Corporation Counsel

    cc:    All counsel (via ECF)
The telephonic settlement conference in this matter scheduled for Tuesday, January 5, 2021 at 2:30 p.m. is
hereby rescheduled to Thursday, January 21, 2021 at 2:30 p.m. Counsel for the parties are directed to call
Judge Parker's court conference line at the scheduled time. Please dial (866) 434-5269, Access code:
4858267. Updated settlement submissions must be received by the Court no later than January 14, 2021 by
5:00 p.m.




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